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 7 Special Counsel to Richard A. Marshack

 8

 9

10                          UNITED STATES BANKRUPTCY COURT
11               CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
12

13 In re:                                         Case No.: 8:23-bk-10571-SC

14 THE LITIGATION PRACTICE GROUP P.C.,            Chapter 11

15          Debtor.                               SUPPLEMENTAL DECLARATION OF
                                                  RICHARD A. MARSHACK IN SUPPORT
16                                                OF EMERGENCY MOTION (I) FOR
                                                  ENTRY OF A SECOND INTERIM
17                                                ORDER: (A) AUTHORIZING THE
                                                  TRUSTEE TO OBTAIN ADDITIONAL
18                                                POST-PETITION FINANCING AND
                                                  SUPERPRIORITY ADMINISTRATIVE
19                                                EXPENSE CLAIM PURSUANT TO 11
                                                  U.S.C. § 364; AND (B) SETTING FINAL
20                                                HEARING; AND PURSUANT TO FINAL
                                                  HEARING, (II) FOR ENTRY OF FINAL
21                                                ORDER APPROVING POST-PETITION
                                                  FINANCING ON A FINAL BASIS
22
                                                  Date:    July 19, 2023
23                                                Time:    1:30 p.m.
                                                  Judge:   Hon. Scott C. Clarkson
24                                                Place:   Courtroom 5C
                                                           411 W. Fourth Street
25                                                         Santa Ana, CA 92701

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 1          I, Richard A. Marshack, declare as follows:

 2         1.      I am the Chapter 11 Trustee (“Trustee”) for the bankruptcy estate (“Estate”) of The

 3 Litigation Practice Group, P.C. (“Debtor”) in the above-captioned bankruptcy case (“Case”). As such,

 4 except as expressly stated otherwise, I have personal knowledge of the facts set forth below and could

 5 and would competently testify under oath thereto if requested to do so.

 6         2.      I submit this Declaration in support of my Motion (I) for Entry of a Second Interim

 7 Order: (A) Authorizing The Trustee to Obtain Additional Post-Petition Financing and Superpriority

 8 Administrative Expense Claim Pursuant to 11 U.S.C. § 364; and (B) Setting Final Hearing; and

 9 Pursuant to Final Hearing, (II) for Entry of Final Order Approving Post-Petition Financing on a Final

10 Basis (“Motion”).

11         3.      Attached please find a Summary, prepared by Trustee’s Administrative Staff in

12 conjunction with LPG Management, identifying in broad terms the sources and uses of loan funds.

13         I declare under penalty of perjury under the laws of the United States of America that the

14 foregoing is true and correct.

15

16 Dated: July 18, 2023
                                                          Richard A. Marshack
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Total funds on hand $6,652,564
     Main checking account $8,052
     Payroll / Operafing account $75,232
     Segregated received on 7/17 from Resolufion Ventures $250,336 *
     Segregated ACH account $6,138,944
     Segregated Payroll tax account $180,000

Net available $83,284

Loan funds (reconciliafion through 7/10/23):
    Received $800,000
    Disbursed $737,030
Remaining $62,970

Of the $737,030:
     87% is payroll / payroll tax related, and related employee and agent expenses
     4% is other operafing expenses (bond, internet, email, Google, etc)
     9% is approximate remaining balance

Major upcoming expenses currently owed:
    7/14 payroll $362,799
    7/28 payroll (fully accrued on 7/21/23) $356,115

BUDGET *
                                            Pay date 7/14/23    Pay date 7/28/23       Other costs
 Wages (gross pay)                          $    262,215.00     $     262,215.00
 Payroll taxes ER porfion                   $     45,000.00     $      45,000.00
 Employee Insurance                         $     55,584.00     $      48,900.00
 Malpracfice insurance (due 7/18/23)                                                   $      9,750.00
 BRI cobra premium (due 7/30/23)                                                       $         75.00
 Workers comp (due 7/13/23)                                                            $      1,500.00
 Unknown confingencies                                                                 $    100,000.00

                                            $     362,799.00     $     356,115.00       $    111,325.00



 TOTAL budget through 7/28                                                             $    830,239.00

* This does not include substantial post-petition expenses including, but not limited to, rent and outside
counsel servicing existing clients.



* Current super-priority administrafive loans:
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 Loan Funds
 Resolution Ventures        $      249,663.98
 Liberty Acquisitions       $       60,000.00
 Liberty Acquisitions       $      490,336.02
                            $      800,000.00 *

* For sake of clarity, this $800,000 does not include the funds in the amount of $250,336 being held in
trust pending court approval of the second 7/17/23 Resolufion Ventures loan.
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
is:     655 W. Broadway, Suite 800, San Diego, California 92101

A true and correct copy of the foregoing document entitled (specify):

SUPPLEMENTAL DECLARATION OF RICHARD A. MARSHACK IN SUPPORT OF EMERGENCY MOTION (I)
FOR ENTRY OF A SECOND INTERIM ORDER: (A) AUTHORIZING THE TRUSTEE TO OBTAIN ADDITIONAL
POST-PETITION FINANCING AND SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIM PURSUANT TO 11
U.S.C. § 364; AND (B) SETTING FINAL HEARING; AND PURSUANT TO FINAL HEARING, (II) FOR ENTRY
OF FINAL ORDER APPROVING POST-PETITION FINANCING ON A FINAL BASIS

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On July 18, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at
the email addresses stated below:

                                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On July 18, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on July 18, 2023, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
than 24 hours after the document is filed.

                   JUDGE'S COPY
                   The Honorable Scott C. Clarkson
                   United States Bankruptcy Court
                   Central District of California
                   Ronald Reagan Federal Building and Courthouse
                   411 West Fourth Street, Suite 5130 / Courtroom 5C
                   Santa Ana, CA 92701-4593

                                                                                Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  July 18, 2023                  Caron Burke                                             /s/ Caron Burke
  Date                          Printed Name                                             Signature
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August 2010                                                                         F 9013-3.1.PROOF.SERVICE
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1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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